     Case 3:19-cv-00159-RCJ-WGC Document 9 Filed 10/16/20 Page 1 of 2



1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     JAMES BARKER,                                      Case No. 3:19-cv-00159-RCJ-WGC
4                                            Plaintiff                     ORDER
5           v.
6     BAKER, et al.,
7                                        Defendants
8
9    I.     DISCUSSION

10          On September 22, 2020, the Court screened Plaintiff’s complaint pursuant to 28

11   U.S.C. § 1915A. (ECF No. 7.) The Court dismissed Plaintiff’s complaint in its entirety

12   and gave Plaintiff leave to file an amended complaint within 30 days. (Id. at 7.) Plaintiff

13   seeks an extension of 60 days to file his first amended complaint. (ECF No. 8 at 1.)

14   Plaintiff states that he is having difficulty with his pleadings as a pro se litigant and is

15   having to file subpoenas to obtain documents that he needs for his filings. (Id.)

16          As an initial matter, the Court notes that Plaintiff does not need to submit any

17   documents to support his amended complaint. Plaintiff only needs to allege facts giving

18   rise to a colorable cause of action. Nevertheless, the Court grants the motion for an

19   extension of time. Plaintiff shall file his first amended complaint on or before December

20   11, 2020. If Plaintiff fails to file a timely first amended complaint, this action will be

21   dismissed with prejudice for failure to state a claim. (See ECF No. 7 at 8.)

22   II.    CONCLUSION

23          For the foregoing reasons, it is ordered that the motion for extension of time (ECF

24   No. 8) is granted.

25          It is further ordered that Plaintiff shall file his first amended complaint on or before

26   December 11, 2020.

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     Case 3:19-cv-00159-RCJ-WGC Document 9 Filed 10/16/20 Page 2 of 2



1           It is further ordered that, if Plaintiff fails to timely file his first amended complaint,
2    this action will be dismissed with prejudice for failure to state a claim.
3
4                      16th day of October 2020.
            DATED THIS ___
5
6                                                UNITED STATES MAGISTRATE JUDGE
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